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                                       September 23, 2019


Honorable Lynn Adelman
Via e-filing

RE:           Case No: 2:19-CV-00115
              Withers et al. v. Milwaukee Brewers Baseball Club et al.

Dear Judge Adelman,

Plaintiffs withdraw their September 6, 2019 motion to compel and will proceed to address the
same arguments as raised in the September 3, 2019 defendants motion for protective order.
Thank you.

Very Truly Yours,

 S/ Paul A. Strouse
 Paul A. Strouse

c Ms. Withers
  Ms. Green
  Opposing counsel via e-filing

Prepared By:
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